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           EXHIBIT 5
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From: sibley@camarasibley.com <sibley@camarasibley.com>
Sent: Monday, July 31, 2023 11:13 AM
To: Houghton-Larsen, M Annie <MHoughton-Larsen@willkie.com>
Cc: Gottlieb, Michael <MGottlieb@willkie.com>; Governski, Meryl Conant
<MGovernski@willkie.com>; John Langford <john.langford@protectdemocracy.org>; Von DuBose
<dubose@dubosemiller.com>; Christine Kwon <christine.kwon@protectdemocracy.org>
Subject: Re: Freeman v. Giuliani - Giuliani Nolo Contendre Stipulation

                                 *** EXTERNAL EMAIL ***

Yes — he is stipulating to the malice element (to the extent it is necessary) as he would have
to for punitive damages, which I acknowledged below. Your papers previously indicated you
did not believe that standard applied, so I was proposing a supplemental stipulation to address
that issue.

Sent from my iPhone


      On Jul 30, 2023, at 9:37 AM, Houghton-Larsen, M Annie <MHoughton-
      Larsen@willkie.com> wrote:


      Thanks Joe.

      To clarify, we were not asking to negotiate any additional stipulations here, but to
      confirm our reading of the opposition and stipulation you filed. On the defamation
      claim, our read of your papers is that Defendant Giuliani has already stipulated to the
      fact that Mr. Giuliani published his statements with actual malice. In any event, a
      stipulation of negligence would be insufficient here for several reasons. We'll take that
      issue up with the Court.

      Thank you,
      Annie




      M.Annie Houghton-Larsen
      Willkie Farr & Gallagher LLP
      787 Seventh Avenue | New York, NY 10019-6099
      Direct: +1 212 728 8164 | Fax: +1 212 728 9164
      mhoughton-larsen@willkie.com | vCard | www.willkie.com bio
      Pronouns: she, her, hers

      From: Joe Sibley <sibley@camarasibley.com>
      Sent: Friday, July 28, 2023 1:13 PM
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To: Houghton-Larsen, M Annie <MHoughton-Larsen@willkie.com>
Cc: Gottlieb, Michael <MGottlieb@willkie.com>; Governski, Meryl Conant
<MGovernski@willkie.com>; John Langford <john.langford@protectdemocracy.org>;
Von DuBose <dubose@dubosemiller.com>
Subject: Re: Freeman v. Giuliani - Giuliani Nolo Contendre Stipulation

                           *** EXTERNAL EMAIL ***

Annie, please see below.

On Wed, Jul 26, 2023 at 1:45ௗPM Houghton-Larsen, M Annie <MHoughton-
Larsen@willkie.com> wrote:
  Joe,

  We are preparing our reply brief in support of Plaintiffs’ motion for sanctions.
  In order to fully formulate our position, we need additional clarity on what Mr.
  Giuliani’s stipulation is proposing.

  Our understanding is that Mr. Giuliani is reserving his right to raise the legal
  defenses of constitutionally protected opinion and statute of limitations and to
  contest the amount of damages, but that otherwise Mr. Giuliani is admitting to
  all the elements of liability for all the claims in Plaintiffs’ amended complaint.
  Specifically:

     1. Other than any opinion and statute of limitation defenses and the issue of
        the amount of damages, Plaintiffs understand that Mr. Giuliani has now
        stipulated to all elements of defamation, including that he published his
        statements with actual malice.

 Since you all are taking the position that actual malice is not required, I think the
easier path is to stipulate that actual malice is not the required standard of fault,
thereby negating any need for a finding of actual malice. We are also not
stipulating that the statements made were statements of fact...I do not believe this
is actually an affirmative defense. I believe it is plaintiffs' burden to show
statements of fact were made (although this is a pure question of law for the court
as I understand it).

     1.

     1. Other than any opinion and statute of limitation defenses and the issue of
        the amount of damages, Plaintiffs understand that Mr. Giuliani has now
        stipulated to all elements of Plaintiffs intentional infliction of emotional
        distress claim, including that he intentionally and recklessly engaged in
        such conduct.

 See above on opinion and whether it is an affirmative defense. In addition to not
stipulating on the amount of damages (including offsets or settlement credits) we
also do not stipulate as to any causal relationship between the conduct/statements
and the alleged damages. Otherwise, I believe your statement here is correct.
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       1.

       1. Other than any opinion and statute of limitation defenses and the issue of
          the amount of damages, Plaintiffs understand that Mr. Giuliani has
          stipulated to all the elements of Plaintiffs' civil conspiracy claim,
          including that there was a meeting of the minds on or before December 3,
          2020, with Donald Trump and others and that Mr. Giuliani participated in
          overt acts pursuant to or in furtherance thereof.

Except as per above with damages, etc. yes, that is my understanding.

       1.

  It is also Plaintiffs’ understanding that Mr. Giuliani will not contest willfulness
  for purposes of punitive damages, should the Court hold him liable.

Yes.

  If you could please confirm by noon EST tomorrow. Thanks,

Sorry -- I didn't see your request for this to be done so swiftly.
  Annie

  M.Annie Houghton-Larsen
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  Pronouns: she, her, hers


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